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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


 NOVO NORDISK A/S AND NOVO
 NORDISK INC.,
                 Plaintiffs,                         Case No.

         v.

 LIQUIVITA, LLC AND LQV
 LAUDERDALE BEACH, LLC

                 Defendants.


                                          COMPLAINT

        Plaintiffs Novo Nordisk A/S (“NNAS”) and Novo Nordisk Inc. (“NNI”) (collectively,

“Plaintiffs” or “Novo Nordisk”), by and through their attorneys, Covington & Burling LLP, file their

complaint against Liquivita, LLC and LQV LAUDERDALE BEACH, LLC (“Defendants”) for

trademark infringement and false advertising, and seek injunctive and other relief. Plaintiffs allege

as follows, on actual knowledge with respect to themselves and their own acts, and on information

and belief as to all other matters.

                                        INTRODUCTION

        1.      Novo Nordisk is a healthcare company with a 100-year history of innovation in

developing medicines to treat serious chronic diseases like diabetes and obesity.

        2.      The development of semaglutide is an example of Novo Nordisk’s commitment to

innovation for people living with chronic diseases. Semaglutide is the foundational molecule that

serves as the primary ingredient for Novo Nordisk’s three prescription-only medicines approved by

the Food and Drug Administration (“FDA”): Ozempic® (semaglutide) injection and Rybelsus ®

(semaglutide) tablets for adults with type 2 diabetes and Wegovy® (semaglutide) injection for chronic

weight management.



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        3.      Novo Nordisk is the only company in the United States with FDA-approved

medicines containing semaglutide. Novo Nordisk is also the only company authorized to identify its

medicines containing semaglutide using the trademarks Ozempic®, Wegovy®, and Rybelsus®. The

FDA has not approved any generic versions of these medicines. To the contrary, the FDA has sent

warning letters to companies that claimed that their unapproved drug products have the “same active

ingredient as Ozempic, Rybelsus, and Wegovy,” noting that Ozempic and Wegovy are currently the

only “two injectable semaglutide products FDA‐approved for the U.S. market.”1

        4.      This is an action brought pursuant to the Lanham Act, 15 U.S.C. §§ 1051 et seq.,

related state laws, and the common law arising out of Defendants’ infringement of Plaintiffs’ rights in

their Ozempic® and Wegovy® marks and Defendants’ false advertising.

        5.      Defendants use Novo Nordisk’s Ozempic® and Wegovy® marks to market and sell to

patients compounded drug products that purport to contain semaglutide. Despite such compounded

drug products having not been evaluated by the FDA for their safety, effectiveness, or quality,

Defendants falsely and misleadingly represent to patients that their products are the same as, or

equivalent to, Novo Nordisk’s FDA-approved medicines.

        6.      Defendants’ conduct is likely to confuse and deceive patients into mistakenly

believing that they are purchasing authentic Novo Nordisk medicines or medicines that have been

evaluated by the FDA, studied in clinical trials, and deemed safe and effective.

                                              THE PARTIES

        7.      Plaintiff NNAS is a corporation organized and existing under the laws of the Kingdom

of Denmark and has its principal place of business in Bagsværd, Denmark.




1
 FDA – Warning Letter to Ozempen.com, MARCS-CMS 684435 — JUNE 24, 2024,
https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations/warning-letters/ozempencom-
684435-
06242024#:~:text=WARNING%20LETTER&text=As%20discussed%20below%2C%20FDA%20has,new%20drugs%
20and%20misbranded%20drugs.
                                                     2
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        8.      Plaintiff NNI is a corporation organized and existing under the laws of Delaware and

has its principal place of business in Plainsboro, New Jersey.

        9.      NNI markets, promotes, offers, and/or sells Novo Nordisk’s Ozempic® and Wegovy®

medicines throughout the United States, including in this District. NNAS has granted to NNI

exclusive rights to distribute with the right to market, advertise, promote, offer for sale and sell

Ozempic® and Wegovy® medicines in the United States.

        10.     Defendants Liquivita, LLC and LQV Lauderdale Beach, LLC are Florida limited

liability companies with registered business addresses at 5153 NW 42nd Terrace, Coconut Creek,

Florida 33073 and 3708 North Ocean Boulevard, Fort Lauderdale, Florida 33308, respectively, in

this judicial district. Defendants sell and promote compounded drug products that purport to contain

semaglutide that have not been approved by the FDA (“Unapproved Compounded Drugs”).

Defendants sell and promote Unapproved Compounded Drugs masquerading as Ozempic® and

Wegovy® and use the Ozempic® and Wegovy® marks in their false advertising and promotion of

Unapproved Compounded Drugs that are neither Ozempic® nor Wegovy®.

                                   JURISDICTION AND VENUE

        11.     The Court has subject matter jurisdiction over the Lanham Act causes of action

pleaded herein pursuant to 15 U.S.C. § 1121 and 28 U.S.C. § 1338(a). The Court has supplemental

jurisdiction over the state and common law causes of action pleaded herein pursuant to 28 U.S.C.

§ 1338(b).

        12.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendants

operate in this District, manufacture and/or sell their compounded drug products that purport to

contain semaglutide in this District, and otherwise conducts business in this District. Defendants are

subject to personal jurisdiction in this District.




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        NOVO NORDISK’S FDA-APPROVED SEMAGLUTIDE MEDICINES AND
                 OZEMPIC® AND WEGOVY® TRADEMARKS

       13.       Plaintiffs use the trademarks “Ozempic” and “Wegovy” to identify and promote the

FDA-approved Ozempic® and Wegovy® medicines. T h e Ozempic® and Wegovy® medicines are sold

and marketed in the United States by NNAS’s indirect, wholly-owned subsidiary, NNI.

       14.       The Ozempic® medicine is an injectable medication indicated for adults with type 2

diabetes to improve blood sugar (glucose), along with diet and exercise. Ozempic ® also lowers the

risk of major cardiovascular events such as stroke, heart attack, or death in adults with type 2 diabetes

and known heart disease.

       15.       The Wegovy® medicine is an injectable medication indicated to reduce excess body

weight and maintain weight reduction long-term in adults and children aged ≥ 12 years with obesity

and some adults that are overweight with weight-related medical problems, along with a reduced

calorie diet and increased physical activity. Wegovy® is also indicated, with a reduced calorie diet

and increased physical activity, to reduce the risk of major adverse cardiovascular events such as

cardiovascular death, heart attack, or stroke in adults with known heart disease and with either obesity

or overweight.

       16.       The Ozempic® and Wegovy® medicines have been extensively studied in clinical trials

and are FDA-approved.

       17.       Each of the Ozempic® and Wegovy® medicines has a unique safety and efficacy

profile which is detailed in its respective product label.

       18.       The Ozempic® and Wegovy® medicines are prescription-only medicines that should

only be prescribed in direct consultation with, and under the supervision of, a licensed healthcare

professional.

       19.       Novo Nordisk first adopted and used the Ozempic® mark at least as early as 2017, and

has used it continuously since that time.

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       20.     The Ozempic® trademark is inherently distinctive.

       21.     Novo Nordisk has promoted, advertised, and marketed its prescription-only medicine

using the Ozempic® mark in many different channels, directed to physicians, other health care

professionals, and patients, including on the websites ozempic.com and novonordisk-us.com. As a

result of its use of the Ozempic® mark, NNAS owns valuable common law rights in and to the

Ozempic® mark.

       22.     Plaintiff NNAS is the owner of U.S. trademark registration number 4,774,881, issued

on July 21, 2015, for the mark Ozempic® for pharmaceutical preparations, in International Class 5.

A true and correct copy of Plaintiff NNAS’s registration for the Ozempic® mark is attached hereto as

Exhibit A.

       23.     Novo Nordisk first adopted and used the Wegovy® mark at least as early as 2021, and

has used it continuously since that time.

       24.     The Wegovy® trademark is inherently distinctive.

       25.     Novo Nordisk has promoted, advertised, and marketed its prescription-only medicine

using the Wegovy® mark in many different channels, directed to physicians, other health care

professionals, and patients, including on the websites wegovy.com and novonordisk-us.com. As a

result of its use of the Wegovy® mark, NNAS owns valuable common law rights in and to the

Wegovy® mark.

       26.     Plaintiff NNAS is the owner of (a) U.S. trademark registration number 6,585,492,

issued on December 14, 2021, for the mark Wegovy® for pharmaceutical preparations, in

International Class 5; and (b) U.S. trademark registration number 6,763,029, issued on June 21, 2022,

for the mark Wegovy® in a stylized form for pharmaceutical preparations, in International Class 5.

True and correct copies of Plaintiff’s registrations numbers 6,585,492 and 6,763,029 for the

Wegovy® mark are attached hereto as Exhibit B and Exhibit C, respectively.


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          27.    As a result of Novo Nordisk’s long use, promotion, and advertising of the Ozempic ®

and Wegovy® trademarks and medicines, the Ozempic® and Wegovy® marks are exclusively

associated with Plaintiffs, serve to identify genuine Novo Nordisk medicines, and are valuable assets

of Novo Nordisk.

          28.    As a result of Novo Nordisk’s long use, promotion, and advertising of the Ozempic ®

and Wegovy® trademarks and medicines, the Ozempic® and Wegovy® trademarks are well-known,

strong, and famous marks, and became such prior to any of the acts of Defendants complained of

herein.

                DEFENDANTS’ SALE OF UNAPPROVED COMPOUNDED DRUGS

          29.    Novo Nordisk has not authorized Defendants to use its marks, has not provided

Defendants with Novo Nordisk’s FDA-approved semaglutide medicines, and does not sell the bulk

semaglutide in Novo Nordisk’s FDA-approved semaglutide medicines to any compounding

pharmacies from which they may be sourcing its Unapproved Compounded Drugs.

          30.    Defendants market and sell to patients Unapproved Compounded Drugs that purport

to contain semaglutide and that are not approved by the FDA.

          31.    On information and belief, the Unapproved Compounded Drugs sold by Defendants

are made by compounding pharmacies, which deliver them either directly to patients or to Defendants

for administration or dispensing to patients.

          32.    The FDA defines compounding as a “practice in which a licensed pharmacist, a

licensed physician, or, in the case of an outsourcing facility, a person under the supervision of a

licensed pharmacist, combines, mixes, or alters ingredients of a drug to create a medication tailored to

the needs of an individual patient.”2




2
 Human Drug Compounding, https://www.fda.gov/drugs/guidance-compliance-regulatory-information/human-drug-
compounding.
                                                    6
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         33.     According to the FDA, “[c]ompounded drugs are not FDA-approved. This means that

FDA does not review these drugs to evaluate their safety, effectiveness, or quality before they reach

patients.”3

         34.     The FDA has further stated that compounded drugs “do not have the same safety,

quality, and effectiveness assurances as approved drugs. Unnecessary use of compounded drugs

unnecessarily exposes patients to potentially serious health risks.” 4 As the FDA has explained,

“[c]ompounded drugs pose a higher risk to patients than FDA-approved drugs because compounded

drugs do not undergo FDA premarket review for safety, quality or effectiveness. Compounded drugs

should only be used for patients whose medical needs cannot be met by an available FDA-approved

drug.5

         35.     Based on data as of June 30, 2024, the FDA’s Adverse Event Reporting System

(FAERS) database includes 542 cases of adverse events associated with compounded

“semaglutide.”6 Of those cases, 388 were classified as “serious” adverse events, 124 reported

hospitalization, and ten involved deaths. This is more than twice the number of adverse events for

all compounded drugs in 2022. The FDA has received reports of adverse events, some requiring

hospitalization, related to overdoses from dosing errors associated with compounded “semaglutide”

products.7 In several instances, patients mistakenly administered five to 20 times more than the

intended dose of compounded “semaglutide.” The FDA believes the containers and packaging used


3
  Compounding Laws and Policies, https://www.fda.gov/drugs/human-drug-compounding/compounding-laws-and-
policies.
4
  Compounding and the FDA: Questions and Answers, https://www.fda.gov/drugs/human-drug-
compounding/compounding-and-fda-questions-and-answers.
5
  FDA Alerts Health Care Providers, Compounders and Patients of Dosing Errors Associated with Compounded
Injectable Semaglutide Products, https://www.fda.gov/drugs/human-drug-compounding/fda-alerts-health-care-
providers-compounders-and-patients-dosing-errors-associated-
compounded?utm_medium=email&utm_source=govdelivery.
6
  FDA Adverse Event Reporting System (FAERS) Public Dashboard, https://www.fda.gov/drugs/questions-and-
answers-fdas-adverse-event-reporting-system-faers/fda-adverse-event-reporting-system-faers-public-dashboard (last
visited July 31, 2024).
7
  FDA Alerts Health Care Providers, Compounders and Patients of Dosing Errors Associated with Compounded
Injectable Semaglutide Products, https://www.fda.gov/drugs/human-drug-compounding/fda-alerts-health-care-
providers-compounders-and-patients-dosing-errors-associated-compounded.
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by compounders, including multidose vials and prefilled syringes, the varying product

concentrations, and the instructions accompanying the compounded drug contribute to the potential

medical errors. A previous publication from the Journal of the American Pharmacists Association

also highlighted administration errors where patients accidentally self-administered doses of

compounded “semaglutide” up to 10 times greater than the intended amount.8

        36.      FDA has issued guidance on “Medications Containing Semaglutide Marketed for

Type 2 Diabetes or Weight Loss,” which provides that: (1) “compounded drugs are not FDA-

approved or evaluated for safety and effectiveness”; and (2) “FDA has received adverse event reports

after patients used compounded semaglutide. Patients should not use a compounded drug if an

approved drug is available to treat a patient. Patients and health care professionals should understand

that the agency does not review compounded versions of these drugs for safety, effectiveness, or

quality.”9

            DEFENDANTS’ TRADEMARK INFRINGEMENT AND FALSE
        ADVERTISING IN CONNECTION WITH THEIR SALE OF UNAPPROVED
                           COMPOUNDED DRUGS

        37.      Despite the foregoing, and well after NNAS’s first use and registration of its

Ozempic® and Wegovy® marks, Defendants have used Novo Nordisk’s Ozempic® and Wegovy®

trademarks to market and sell Unapproved Compounded Drugs purporting to contain “semaglutide”

that are neither Ozempic ® nor Wegovy®, and have made false and misleading representations to

patients regarding the nature of their Unapproved Compounded Drugs.

        38.      Defendants have, for example, used Novo Nordisk’s Ozempic ® and Wegovy®

trademarks to identify and market their Unapproved Compounded Drugs.



8
  Joseph E. Lambson et al, Administration Errors of Compounded Semaglutide Reported to a Poison Control Center—
Case Series, 63 J. Am. Pharmacists Assc’n 5 (2023), available at https://www.japha.org/article/S1544-3191(23)00231-
5/abstract.
9
  Medications Containing Semaglutide Marketed for Type 2 Diabetes or Weight Loss,
https://www.fda.gov/drugs/postmarket-drug-safety-information-patients-and-providers/medications-containing-
semaglutide-marketed-type-2-diabetes-or-weight-loss.
                                                        8
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       39.     Defendants falsely advertise their Unapproved Compounded Drugs by making

statements that describe Ozempic® and Wegovy® but that are false or misleading when in reference

to Defendants’ Unapproved Compounded Drugs.

       40.     Defendants have claimed or implied that their Unapproved Compounded Drugs have

been approved by the FDA or have been reviewed by the FDA for safety, effectiveness, and quality.

       41.     Defendants have claimed or implied that their Unapproved Compounded Drugs

contain the same semaglutide that the FDA evaluated in the context of reviewing and approving Novo

Nordisk’s new drug applications for Ozempic® and Wegovy®.

       42.     Defendants have claimed or implied that their Unapproved Compounded Drugs are

compounded or generic versions of Wegovy® and Ozempic®.

       43.     On information and belief, Defendants have engaged in these unlawful practices to

attract customers and generate revenues and profits, including by passing off their Unapproved

Compounded Drugs purporting to contain “semaglutide” as Ozempic® and Wegovy® or authorized

variations of those medicines.

       44.     Defendants’ prominent and misleading use of the Ozempic ® and Wegovy® marks is

likely to cause patients to believe falsely that they are actually purchasing genuine Ozempic ® and

Wegovy® medicines; that Defendants are a source for Novo Nordisk’s FDA-approved semaglutide

medicines; or that Defendants’ services are provided, licensed, sponsored, authorized, or approved

by Novo Nordisk.

       45.     Defendants’ use of the Ozempic® and Wegovy® marks is without the permission,

consent or authorization of Novo Nordisk. Defendants have no right to use, and Defendants know

that they have no right to use, the Ozempic ® and Wegovy® marks in connection with Defendants’

Unapproved Compounded Drugs or otherwise.




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        46.    Novo Nordisk has no control over the nature, quality, or efficacy of the products sold

 by Defendants, including the Unapproved Compounded Drugs.

        47.    Defendants’ unlawful conduct is reflected in the paragraphs that follow, as well as

 Exhibit D hereto.

        48.    Defendants falsely claim on their website that their Unapproved Compounded Drugs

 have been approved by the FDA.




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        49.    Such claims are false and misleading. First, the FDA only approves complete

 medications, not molecules like semaglutide. Second, the FDA has not evaluated, let alone approved,

 Defendants’ Unapproved Compounded Drugs.

        50.    Defendants’ website also false and misleadingly refers to “semaglutide”

 interchangeably with the Ozempic® and Wegovy® medicines and displays images of authentic

 Wegovy® packaging.




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        51.    Defendants falsely represent that the terms “Ozempic” and “Wegovy” are mere

 marketing names for semaglutide and suggest that their Unapproved Compounded Drugs are the

 same as, or generic equivalents of, the Ozempic® and Wegovy® medicines.

        52.    To the contrary, Novo Nordisk is not directly or indirectly supplying semaglutide to

 Defendants or any compounding pharmacies from which they may be sourcing their Unapproved

 Compounded Drugs.

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        53.     Further, a generic drug is one that the FDA has found to meet the “same high standards

 of quality and manufacturing as the brand-name product.”10 No generic form of Plaintiffs’ FDA-

 approved Ozempic® and Wegovy® medicines currently exists. The FDA has not reviewed the

 “semaglutide” allegedly in Defendants’ Unapproved Compounded Drugs for safety, effectiveness,

 or quality. Defendants have no basis to claim that this semaglutide is approved by the FDA or

 equivalent to the semaglutide in Novo Nordisk’s FDA-approved medicines.

        54.     Defendants further mislead patients, on their website and in advertising, by making

 false and misleading claims about the effectiveness of their Unapproved Compounded Drugs.

 Defendants claim that their Unapproved Compounded Drugs are “clinically proven” and “can lead

 to significant weight loss, with some studies reporting an average loss of 15% of body weight”.




 10
    U.S. Food & Drug Administration – Generic Drugs: Questions & Answers (March 16, 2021)
 https://www.fda.gov/drugs/frequently-asked-questions-popular-topics/generic-drugs-questions-
 answers#:~:text=A%20generic%20drug%20is%20a,performance%20characteristics%2C%20and%20intended%20use.
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         55.      Novo Nordisk’s FDA-approved medicines are the only drugs containing semaglutide

 to have been publicly studied for weight loss in clinical trials. On information and belief, no such

 data exist for Defendants’ Unapproved Compounded Drugs.

         56.      Defendants’ advertising and promotional materials are false and misleading,

 suggesting an association with Plaintiffs’ FDA-approved Ozempic® and Wegovy® medicines when

 no such association exists.

         57.      There is no need for Defendants to use the Ozempic® and Wegovy® trademarks to

 advertise or promote their Unapproved Compounded Drugs purporting to contain “semaglutide,”

 other than to trade on the reputation of Plaintiffs, create confusion in the marketplace, mislead the

 public regarding the origin, identity, or source of Defendants’ Unapproved Compounded Drugs, or

 erroneously indicate that their Unapproved Compounded Drugs have been determined by the FDA

 to be safe or effective.

         58.      Defendants’ unauthorized use of the Ozempic® and Wegovy® trademarks has likely

 caused and is likely to continue to cause confusion, mistake, and deception, and infringes Plaintiffs’

 established exclusive rights in those trademarks.

         59.      Defendants’ false and misleading marketing is also likely to expose patients to

 unnecessary risks. Patients who mistakenly believe Defendants to be offering Novo Nordisk’s FDA-

 approved medicines, or equivalent thereto, are unlikely to understand the unique risks associated

 with, or the lack of clinical trials or testing establishing the safety and effectiveness of, Defendants’

 Unapproved Compounded Drugs.11




 11
    See, e.g., Dozens Say They Lost Eyesight After Routine Surgery Using Compounded Pharmacy Drugs, WFAA,
 https://www.wfaa.com/article/news/do-not-publish-yet/287-5f002ed3-e110-4063-9959-a2e5f54b5097 (reporting
 mistaken belief of patient taking a compounded drug that “every pill you take, every shot you take is tested.”).
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         60.     On information and belief, unless enjoined by this Court, Defendants will continue to

 use the Ozempic® and Wegovy® marks and/or otherwise falsely advertise their products as associated

 with or being Ozempic® and Wegovy®, all in violation of Plaintiffs’ rights.

         61.     On information and belief, unless enjoined by this Court, Defendants’ unauthorized

 use of the Ozempic® and Wegovy® trademarks will continue to cause confusion, mistake, and

 deception, and infringe Plaintiffs’ established exclusive rights in those trademarks.

                                     FIRST CAUSE OF ACTION

                      Trademark Infringement in Violation of 15 U.S.C. § 1114(1)

         62.     Plaintiff NNAS realleges and incorporates by reference each of the allegations in

 paragraphs 1–61 of this Complaint as though fully set forth here.

         63.     Plaintiff NNAS’s Ozempic® and Wegovy® marks are inherently distinctive, strong,

 valid, and protectable trademarks owned by Plaintiff NNAS.

         64.     Plaintiff NNAS’s right to use its Ozempic® registration constitutes prima facie

 evidence of the validity of the mark, of Plaintiff NNAS’s registration and ownership of the mark, and

 of Plaintiff NNAS’s exclusive right to use the mark in commerce on or in connection with the goods

 identified in the registration.

         65.     Plaintiff NNAS’s trademark registrations for its Wegovy® marks constitute prima

 facie evidence of the validity of the marks, of Plaintiff NNAS’s registration and ownership of the

 marks, and of Plaintiff NNAS’s exclusive right to use the mark in commerce on or in connection

 with the goods identified in the registrations.

         66.     By virtue of its prior use and registration, Plaintiff NNAS has priority over Defendants

 with respect to the use of the Ozempic® and Wegovy® marks for pharmaceutical preparations sold in

 the United States.




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        67.     Defendants use the Ozempic® and Wegovy® marks extensively and without proper

 justification in connection with the sale, advertising, and promotion of Unapproved Compounded

 Drugs purporting to contain semaglutide.

        68.     Defendants’ use in commerce of the Ozempic® and Wegovy® marks is likely to cause

 confusion, to cause mistake, or to deceive with respect to Plaintiff NNAS’s identical marks.

        69.     The above-described acts of Defendants constitute infringement of registered

 trademarks in violation of Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1), entitling Plaintiff

 NNAS to relief.

        70.     Defendants have unfairly profited from their trademark infringement.

        71.     By reason of Defendants’ acts of trademark infringement, Plaintiff NNAS has

 suffered damage to the goodwill associated with its marks.

        72.     Defendants’ acts of trademark infringement have irreparably harmed and, if not

 enjoined, will continue to irreparably harm Plaintiff NNAS, its federally registered trademarks and

 the valuable goodwill associated with those trademarks.

        73.     Defendants’ acts of trademark infringement have irreparably harmed, and if not

 enjoined, will continue to irreparably harm the interests of the public in being free from confusion,

 mistake, and deception.

        74.     By reason of Defendants’ acts, Plaintiff NNAS’s remedies at law are not adequate to

 compensate for the injuries inflicted by Defendants. Accordingly, Plaintiff NNAS is entitled to entry

 of preliminary and permanent injunctive relief pursuant to 15 U.S.C. § 1116.

        75.     By reason of Defendants’ willful acts of trademark infringement, the Court should

 award disgorgement of Defendants’ profits (enhanced at the Court’s discretion), treble damages, and

 costs under 15 U.S.C. § 1117 to NNAS.




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        76.     This is an exceptional case, making Plaintiff NNAS eligible for an award of attorneys’

 fees under 15 U.S.C. § 1117.

                                   SECOND CAUSE OF ACTION

                         False and Misleading Advertising and Promotion
                             in Violation of 15 U.S.C. § 1125(a)(1)(B)

        77.     Plaintiffs reallege and incorporate by reference each of the allegations in paragraphs

 1–61 of this Complaint as though fully set forth here.

        78.     Defendants’ practices, as described in this Complaint, constitute unfair competition

 and false advertising in violation of Section 43(a)(1)(B) of the Lanham Act, 15 U.S.C.

 § 1125(a)(1)(B).

        79.     Defendants have violated the Lanham Act by using false or misleading descriptions

 of fact and false or misleading representations of fact in their commercial advertising or promotion

 that misrepresent the nature, characteristics, and/or qualities of Defendants’ business practices and

 products, as set forth above.

        80.     Defendants have also engaged in other false or misleading advertising and promotion

 intended to assure patients that Defendants’ practices are lawful. On information and belief,

 Defendants provide patients who purchase Defendants’ Unapproved Compounded Drugs (or whom

 Defendants are trying to persuade to purchase its drugs) information that makes several false or

 misleading statements, including those described herein and in the exhibits hereto.

        81.     The above-described acts of Defendants, if not enjoined by this Court, are likely to

 deceive members of the general public.

        82.     The above-described acts of Defendants have irreparably harmed and, if not enjoined,

 will continue to irreparably harm Plaintiffs.




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        83.     The above-described acts of Defendants have irreparably harmed and, if not enjoined,

 will continue to irreparably harm the interest of the public in being free from confusion, mistake, and

 deception.

        84.     By reason of Defendants’ acts as alleged above, Plaintiffs have suffered and will

 continue to suffer injuries, including injury to Plaintiffs’ business reputation. However, Plaintiffs’

 remedies at law are not adequate to compensate for all the injuries inflicted by Defendants.

 Accordingly, Plaintiffs are entitled to entry of preliminary and permanent injunctive relief requiring

 Defendants to cease their false and misleading advertising and promotion and unfair competitive

 practices.

        85.     Because the above-described acts of Defendants are willful, the Court should award

 disgorgement of Defendants’ profits (enhanced at the Court’s discretion), treble damages, and costs

 under 15 U.S.C. § 1117 to Plaintiffs.

        86.     This is an exceptional case, making Plaintiffs eligible for an award of attorneys’ fees

 under 15 U.S.C. § 1117.

                                    THIRD CAUSE OF ACTION

                       Unfair Competition in Violation of the Common Law

        87.     Plaintiffs reallege and incorporate by reference each of the allegations in paragraphs

 1–61 of this Complaint as though fully set forth here.

        88.     The above-described acts of Defendants constitute common law unfair competition.

        89.     The above-described acts of Defendants unfairly and wrongfully exploit Plaintiffs’

 trademark, goodwill, and reputation.

        90.     By reason of the above-described acts of Defendants, Plaintiffs have suffered damage

 to the goodwill associated with the Ozempic® and Wegovy® trademarks.

        91.     The above-described acts of Defendants have irreparably harmed and, if not enjoined,

 will continue to irreparably harm Plaintiffs and the Ozempic® and Wegovy® trademarks.
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         92.     The above-described acts of Defendants have irreparably harmed and, if not enjoined,

 will continue to irreparably harm the interest of the public in being free from confusion, mistake, and

 deception.

         93.     By reason of Defendants’ acts, Plaintiffs’ remedies at law are not adequate to

 compensate for the injuries inflicted by Defendants. Accordingly, the Court should enter preliminary

 and permanent injunctive relief, in addition to awarding disgorgement of Defendants’ profits and

 corrective advertising costs to Plaintiffs.

                                       FOURTH CAUSE OF ACTION

                            Deceptive and Unfair Trade Practices in Violation of
                                     § 502.21, et seq., Florida Statutes

         94.     Plaintiffs reallege and incorporate by reference each of the allegations in paragraphs

 1–61 of this Complaint as though fully set forth here.

         95.     The above-described acts of Defendants constitute unfair methods of competition, and

 unconscionable, deceptive, or unfair acts or practices in violation of Florida law, including Florida’s

 Deceptive and Unfair Trade Practices Act (“FDUTPA”), Section 502.201, et seq., Florida Statutes.

         96.     FDUTPA is designed “[t]o protect the consuming public and legitimate business

 enterprises from those who engage in unfair methods of competition, or unconscionable, deceptive,

 or unfair trade practices in the conduct of any trade or commerce.” FDUTPA § 502.201.

         97.     The above-described acts of Defendants have been made in the conduct of

 Defendants’ business, trade, or commerce.

         98.     The above-described acts of Defendants have wrongfully exploited Plaintiffs’

 trademarks in a manner likely to deceive the public and mislead reasonable patients.

         99.     The above-described acts of Defendants have irreparably harmed and, if not enjoined,

 will continue to irreparably harm Plaintiffs and the value of the trademarks.



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         100.    The above-described acts of Defendants have irreparably harmed and, if not enjoined,

 will continue to irreparably harm the interest of the public in being free from confusion, mistake, and

 deception.

         101.    Members of the public are also likely to suffer injury from the above-described acts

 of Defendants by purchasing a drug that they believe to be equivalent to Plaintiffs’ FDA-approved

 semaglutide medicines, Ozempic ® and Wegovy®, not an Unapproved Compounded Drug that does

 not have the same safety, quality, and effectiveness assurances as approved drugs.

         102.    By reason of the above-described acts of Defendants, Plaintiffs have suffered damage

 to the goodwill associated with its trademarks.

         103.    Defendants have unfairly profited from the actions alleged.

         104.    By reason of Defendants’ acts, Plaintiffs’ remedy at law is not adequate to compensate

 for the injuries inflicted by Defendants. Accordingly, the Court should enter preliminary and

 permanent injunctive relief, in addition to awarding disgorgement of Defendantss profits and

 corrective advertising costs to Plaintiffs.

                                       REQUEST FOR RELIEF

         WHEREFORE, Plaintiffs request judgment against Defendants as follows:

         1.      That the Court enter a judgment against Defendants that Defendants have:

              a. Infringed the rights of Plaintiff NNAS in its federally registered Ozempic® and

                 Wegovy® marks, in violation of 15 U.S.C. § 1114(1);

              b. Infringed the rights of Plaintiffs in the Ozempic® and Wegovy® marks and engaged

                 in unfair competition, in violation of 15 U.S.C. § 1125(a);

              c. Engaged in false and misleading advertising and promotion, in violation of 15 U.S.C.

                 § 1125(a);

              d. Engaged in unfair competition under the common law and violated FDUTPA, Section

                 502.201, et seq., Florida Statutes.
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        2.      That each of the above acts was willful.

        3.      That the Court preliminarily and permanently enjoin and restrain Defendants and their

 agents, servants, employees, successors, and assigns, and all other persons acting in concert with or

 in conspiracy with or affiliated with Defendants, from:

             a. using the Ozempic® and Wegovy® marks in any manner, including but not limited to

                (i) use in any manner that is likely to cause confusion or mistake, to deceive, or

                otherwise infringe Novo Nordisk’s rights in the Ozempic® and Wegovy® marks in any

                way, or (ii) use in connection with the advertising, marketing, sale, or promotion of

                any Unapproved Compounded Drugs; and,

             b. advertising, stating, or suggesting that any Unapproved Compounded Drugs,

                including but not limited to any Unapproved Compounded Drugs that either are

                available, directly or indirectly, from or through Defendants or the use of which or

                access to which is facilitated by, or with the involvement of, Defendants:

                    i. are, or contain, genuine or authentic Novo Nordisk Ozempic ® or Wegovy®

                       medicines;

                   ii. are sponsored by or associated with Novo Nordisk;

                   iii. are approved by the FDA; have been reviewed by the FDA for safety,

                       effectiveness, or quality; or have been demonstrated to the FDA to be safe or

                       effective for their intended use;

                   iv. achieve or have been shown or proven to achieve certain therapeutic results,

                       effects, or outcomes, including but not limited to by relying on or making

                       reference to clinical trial results for Novo Nordisk’s medicines;




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                    v. achieve or have been shown or proven to achieve therapeutic results, effects,

                        or outcomes similar or identical to Novo Nordisk’s medicines and/or are

                        interchangeable with or equivalent to genuine Novo Nordisk medicines;

                   vi. are associated or connected in any way with Novo Nordisk or Novo Nordisk’s

                        medicines; or

                   vii. contain any ingredient (including but not limited to semaglutide) that is

                        supplied by Novo Nordisk, is approved by the FDA, or is the same as any

                        ingredient in any Novo Nordisk medicine.

             c. engaging in any unfair competition with Plaintiffs; and/or

             d. engaging in any deceptive acts or practices.

        4.      That the Court require Defendants to disclose conspicuously and prominently in any

 public-facing materials for any Unapproved Compounded Drugs, including but not limited to all

 advertising, marketing, and promotional materials, that: (a) the Unapproved Compounded Drugs are

 compounded drugs that have not been approved by the FDA; have not been reviewed by the FDA

 for safety, effectiveness, or quality; and have not been demonstrated to the FDA to be safe or effective

 for their intended use; (b) the processes by which the compounded drugs are manufactured have not

 been reviewed by the FDA; and (c) FDA-approved medicines containing semaglutide are available.

        5.      That Plaintiffs be awarded monetary relief in the form of disgorgement of Defendants’

 profits for Defendants’ trademark infringement, false advertising, and unfair competition and that

 this monetary relief be trebled due to Defendants’ willfulness, in accordance with the provisions of

 15 U.S.C. § 1117 and any applicable state laws.

        6.      That the Court award disgorgement of Defendants’ profits resulting from Defendants’

 infringement of Plaintiffs’ rights and by means of Defendants’ unfair competition to Plaintiffs.




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        7.     That Defendants be ordered to account for and disgorge to Plaintiffs all amounts by

 which Defendants have been unjustly enriched by reason of Defendants’ unlawful actions.

        8.     That Plaintiffs be awarded punitive damages by reason of Defendants’ willful

 unlawful actions.

        9.     For pre-judgment and post-judgment interest on all damages.

        10.    That the Court award Plaintiffs their reasonable attorneys’ fees pursuant to 15

 U.S.C. § 1117, Fla. Stat. § 501.2105, and any other applicable provision of law.

        11.    That the Court award Plaintiffs the costs of suit incurred herein.

        12.    For such other or further relief as the Court may deem just and proper.



 Dated: September 6, 2024                      Respectfully submitted,

                                               By:      /s/ Jordan S. Cohen
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